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UNITED STATES DISTRICT COU
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA 2-CR-10108
Violations:
v,
Count One: Conspiracy to Obtain Unauthorized
VLADISLAV KLYUSHIN : Access to Computers, and to Commit Wire
alk/a “Vladislav Kliushin, Fraud and Securities Fraud
IVAN ERMAKOV, (18 U.S.C. § 371)
a/k/a “Ivan Yermakov,” and
NIKOLAI RUMIANTCEV,

Count Two: Wire Fraud; Aiding and Abetting

alk/a “Nikolay Rumyantsev,” (18 U.S.C. §8 1343 and 2)

Defendants Count Three: Unauthorized Access to

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) Computers; Aiding and Abetting

(18 U.S.C. §§ 1030(a)(4) and 2)

) Count Four: Securities Fraud; Aiding and
Abetting

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(15 U.S.C. §§ 78j(b) and 78ff{a); 17 CER.
§ 240.10b-3; 18 U.S.C. § 2)

Forfeiture Allegation:
(18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C.
§ 2461(c))

Computer Intrusion Forfeiture Allegation:
18 U.S.C. §§ 982(a)(2){B) and 1030(i)

INDICTMENT

At all times relevant to this Indictment:

General Allegations

1. Defendant VLADISLAV KLYUSHIN, also known as “Vladislav Kliushin,” was a

Russian citizen who resided in Russia. KLYUSHIN was employed as the first deputy general
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director of M-13, a purported information technology company based in Moscow. At various

times, KLYUSHIN purported to be the owner of M-13.

2. Defendant [VAN ERMAKOV, also known as “Ivan Yermakov,” was a Russian
citizen who resided in Russia. ERMAKOV was employed as a deputy general director of M-13.

3. Defendant NIKOLAI RUMIANTCEY, also known as ‘Nikolay Rumyantsev,” was
a Russian citizen who resided in Russia. RUMIANTCEV was employed as a deputy general
director of M-13.

4. M-13 purported to offer information technology and media monitoring services,
including monitoring and analytics of media and social media messages, cyber security consulting,
and penetration testing. Penetration testing, also called pen testing, is an authorized, simulated
cyberattack that is used to evaluate an organization’s ability to protect its computer systems,
networks, and applications. A pen test looks for exploitable vulnerabilities in a computer system
that could be leveraged by a hacker to obtain unauthorized access to the system.

5. According to M-13’s website, the company also provided “Advanced persistent
threat (APT) Emulation” services that it described as the “most sound and modern method of
testing and analyzing the infrastructure’s security.” The website explained: “Our experts imitate
a full-scale targeted attack, during which the attacker, while trying to conceal his presence, uses a
wide range of actions against the organization’s infrastructure.” The website further indicated
that the company’s “IT solutions” were used by “the Administration of the President of the Russian
Federation, the Government of the Russian Federation, federal ministries and departments,

regional state executive bodies, commercial companies and public organizations.”

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6. KLYUSHIN, ERMAKOV and RUMIANTCEV also purported to offer investment

management services through M-13 to Individuals 1, 2 and 3, in exchange for up to 60 percent of
the profits.

7. Filing Agent 1 and Filing Agent 2 were companies operating in the United States
that, among other services, provided their clients with secure technology and communications
platforms for preparing and submitting regulatory filings to the U.S. Securities and Exchange
Commission (“SEC”). The clients of Filing Agent 1 and Filing Agent 2 were public companies,
the securities of which were traded on national securities exchanges in the United States.

8. The New York Stock Exchange (the “NYSE”) and the NASDAQ Stock Market
(the “NASDAQ”) were national securities exchanges in the United States.

9. The SEC was an independent agency of the executive branch of the United States
government that was responsible for enforcing federal securities laws and promulgating rules and
regulations thereunder.

10. Under United States securities laws, publicly traded companies must regularly
disclose their financial performance to the SEC, and, through the SEC, to the general public. For
example, publicly traded companies are generally required to file quarterly financial reports after
each of the first three quarters of the fiscal year on SEC Form 10-Q, and to file an annual report of
their financial performance, including audited financial statements, after the end of the final quarter

of the fiscal year, on SEC Form 10-K. In addition, publicly traded companies are required to file

periodic “current reports” (on SEC Form §-K) disclosing events of significance to shareholders.
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li. Many reporting companies provide these financial reports to filing agents, such as
Filing Agent 1 and Filing Agent 2, which file them electronically via the SEC’s Electronic Data
Gathering, Analysis and Retrieval system, commonly known as EDGAR. In order to make these
EDGAR filings on behalf of their clients, filing agents first receive and store the companies’
financial results on their own secure, internet-connected computer networks. Prior to their filing
and public disclosure, the results are considered highly confidential business information.

Overview of the Conspiracy and the Scheme to Defraud

12. Beginning at least as early as January 2018 and continuing through at least
September 2020, the defendants, KLYUSHIN, ERMAKOV, and RUMIANTCEYV, conspired with
one another and with others known and unknown to the Grand Jury to obtain unauthorized access
to the computer networks of Filing Agent 1 and Filing Agent 2 using stolen employee credentials,
and to view or download the financial disclosures of hundreds of publicly traded companies,
including quarterly and annual reports that had not yet been filed with the SEC or disclosed to the
public. Armed with these reports, which contained material non-public information, the
defendants further conspired to enrich themselves by trading in the securities of those companies.
Through this scheme, the defendants eared tens of millions of dollars in illegal profits.

Objects and Purposes of the Conspiracy

13. The objects of the conspiracy were to vbtain unauthorized access to computers with
intent to defraud, and to commit wire fraud and securities fraud. The principal purposes of the
conspiracy were (1) to obtain material non-public information about the financial performance of

publicly traded companies, (2) to enrich the conspirators by trading securities on the basis of that

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information, and (3) to conceal the conspirators’ actions from their victims, securities regulators

and law enforcement.

Manner and Means of the Conspiracy and the Scheme to Defraud

14. Among the manner and means by which the defendants, KLYUSHIN,

ERMAKOV, and RUMIANTCEV, together with others known and unknown to the Grand Jury,

carried out the conspiracy and the scheme to defraud were the following:

a.

obtaining unauthorized access to the computer networks of Filing Agent 1
and Filing Agent 2;

deploying malicious infrastructure capable of harvesting employees’
usernames and passwords;

using stolen usernames and passwords to misrepresent themselves as
employees of Filing Agent 1 and Filing Agent 2 in order to obtain access to
the filing agents’ computer networks,

leasing proxy (or intermediary) computer networks outside of Russia that
obscured the origin of their attacks;

subscribing to email addresses and payment systems used in furtherance of
the attacks in others’ names;

once inside the filing agent networks, viewing or downloading material,
non-public financial information—including quarterly and annual earnings

reports that had not yet been filed with the SEC or disclosed to the general
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public—of hundreds of companies that are publicly traded on U.S. national
securities exchanges, including the NASDAQ and the NYSE;

g. trading in the securities of those companies while in possession of material
non-public information concerning their financial performance, including
by purchasing securities of companies that were about to disclose positive
financial results, and selling short securities of companies that were about
to disclose negative financial results;

h. distributing their trading across accounts they opened at banks and
brokerages in several countries, including Cyprus, Denmark, Portugal,
Russia and the United States; and

i. misleading brokerage firms about, among other things, the nature of their
trading activities.

Overt Acts in Furtherance of the Conspiracy

15. Beginning at least as early as January 2018 and continuing through at least
September 2020, the defendants, KLYUSHIN, ERMAKOV, RUMIANTCEV, together with
others known and unknown to the Grand Jury, committed and caused to be committed the
following overt acts, among others, in furtherance of the conspixacy:

16. On or about February 5, 2018, ERMAKOV or another conspirator used the
username and password of an employee of Filing Agent 2 (the “FA 2 Employee Credentials”) to
obtain unauthorized access to the company’s computer network and to access earnings-related
information of Snap, Inc., a company that is publicly traded on the NYSE. The information

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included a press release announcing Snap’s fourth quarter and full year 2017 financial results that
had not yet been filed with the SEC or publicly disclosed.

17. On or about February 6, 2018, Co-Conspirator 2 (“CC-2”), an individual whose
identity is known to the Grand Jury, viewed the SNAP press release on his computer screen at
approximately 8:13 a.m. (ET), more than eight hours before the results were filed with the SEC or
publicly disclosed.

18. On or about May 9, 2018, starting at approximately 3:46 a.m. (ET), ERMAKOV
used the FA 2 Employee Credentials to obtain unauthorized access to the computer network of
Filing Agent 2 and to access earnings-related files of at least four companies: Cytomx
Therapeutics, Inc., Horizon Therapeutics ple, Puma Biotechnology, Inc., and Synaptics Inc. All
four companies are publicly traded on the NASDAQ, and reported their quarterly earnings later
that day.

19.  Onor about October 22, 2018, ERMAKOV or another conspirator used the FA 2
Employee Credentials to obtain unauthorized access to the computer network of Filing Agent 2
through an IP address hosted at a data center located in Boston, Massachusetts and to view the
quarterly financial results of Capstead Mortgage Corp. (“Capstead”), the securities of which are
publicly traded on the NYSE. The Capstead results had not yet been filed with the SEC or
publicly disclosed.

20. On or about October 23, 2018, KLYUSHIN or another conspirator shorted
securities of Capstead in a brokerage account in KLYUSHIN’s name at a Russia-based brokerage
firm with operations in Cyprus (the “Russia-based brokerage firm”).

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21. On or about October 24, 2018—shortly before Capstead publicly disclosed
financial results that fell short of market expectations—Co-Conspirator | (“CC-1”), an individual
whose identity is known to the Grand Jury, shorted shares of Capstead in an account in CC-1’s
name at a U.S.-based brokerage firm.

22. On or about October 24, 2018, ERMAKOV or another conspirator used the FA 2
Employee Credentials to obtain unauthorized access to the computer network of Filing Agent 2
via another Boston IP address (collectively, the “Boston IP Addresses”), and to view the quarterly
financial results of Tesla, Inc. (“Tesla”), the securities of which are publicly traded on the
NASDAQ.

23. On or about that same day, before Tesla publicly disclosed positive quarterly
earnings results:

a. KLYUSHIN or another conspirator purchased Tesla securities in
KLYUSHIN’s brokerage account at the Russia-based brokerage firm;

b. KLYUSHIN sent the following message to Individual 1 and Individual 2:
“Pay attention to shares of Tesla now and tomorrow after 16:30 and on how
much they go up.”; and

o CC-1 purchased shares of Tesla in the U.S. brokerage account in his name.

24. On or about May 25, 2019, KLYUSHIN wrote to ERMAKOYV, in substance, that
they had accrued profits of close to $1 million in the account of Individual 2 over the prior seven-

month period, nearly tripling his investment, and profits of close to $700,000 in the account of
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Individual 1, nearly doubling his investment of $1 million. KLYUSHIN stated: “They don’t even
ask why so anymore [smile}.”

25. On or about June 13, 2019, KLYUSHIN sent a message to ERMAKOV in which
he referred to RUMIANTCEV by the nickname “Kolya” and noted: “Kolya’s assets have grown
[three smiles].”. ERMAKOV responded: “Yes [smile].”

26. On or about the same day, KL YUSHIN told Individual 3: “I had a good day today[.]
We made 1.2 million dollars on [trades] in the stock exchange and
passed on 70 in suitcase [smile.] I did my deed{.]”

27. Onor about July 28, 2019 and July 29, 2019, ERMAKOV or another conspirator
used the FA 2 Employee Credentials to obtain unauthorized access to the computer network of
Filing Agent 2 and to view earnings-related files of SS&C Technologies, Inc. (““SSNC”), the
securities of which are publicly traded on the NASDAQ.

28.  Onor about July 29, 2019, shortly before SSNC reported second quarter financial
results and lowered its profit forecast:

a. CC-1 shorted SSNC shares in his U.S. brokerage account;

b. Either CC-1 or CC-2 shorted contracts for difference (“CFDs”) in SSNC in
an account that CC-1 and CC-2 had opened jointly in CC-1’s name at a
Denmark-based bank specializing in online trading. CFDs are a type of
security that allow traders to participate in the price movement of U.S.

stocks without actually owning the underlying shares;
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Ci CC-2 shorted SSNC securities in a brokerage account in his own name at a
second Russia-based financial services company with operations in Cyprus;

d. KLYUSEIN or another conspirator sold short 11,800 SSNC CFDs in an
account in KLYUSHIN’s name at the Denmark-based bank; and

e. KLYUSHIN, ERMAKOV or RUMIANTCEV shorted shares of SSNC in
accounts in the names of Individual 1 and Individual 2 at the Russia-based
brokerage firm.

29. On or about July 30, 2019, after SSNC publicly reported second quarter financial
results and lowered its profit forecast, KLYUSHIN or another co-conspirator covered the entire
SSNC short position in KLYUSHIN’s account for a profit of approximately $114,000.

30. On or about August 28, 2019, KLYUSHIN executed a power of attorney giving
RUMIANTCEV authority to place trades in KLYUSHIN’s account at the Denmark-based bank.

31. On or about August 29 and 30, 2019, KLYUSHIN shared photographs with
ERMAKOV showing a safe that contained growing stacks of U.S. one hundred dollar bills.

39. On or about November 1, 2019, and again between November 4 and November 6,
2019, ERMAKOV or another conspirator used the FA 2 Employee Credentials to obtain
unauthorized access to the computer network of Filing Agent 2 and to view earnings-related files
of Roku Inc., the securities of which are publicly waded on the NASDAQ,

33.  Onorabout November 6, 2019, hours before Roku reported third quarter financial
results and reduced its profit forecasts, KLYUSELIN or another conspirator sold short 42,5 00 Roku
CFDs in KLYUSHIN’s account at the Denmark-based bank.

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34. On or about November 7, 2019, after Roku publicly reported its third quarter
financial results, KLYUSHIN or another conspirator covered KLYUSHIN’s Roku CFD short
position for a profit of approximately $1 million.

35.  Onorabout November 19, 2019, RUMIANTCEV received a text message from an
employee of the Russia-based brokerage firm advising him, in substance, that his trading account
and a few other clients’ accounts were being blocked for suspicious transactions.

36. On or about January 21, 2020, ERMAKOV or another conspirator used the
username and password of an employee of Filing Agent 1 (the “FA 1 Employee Credentials”) to
obtain unauthorized access to the company’s computer network and to view earnings-related files
of Avnet, Inc., the securities of which are publicly traded on the NASDAQ.

37. On or about January 23, 2020—hours before Avnet reported second quarter
financial results that fell short of market expectations—ERMAKOV used a mobile trading
application to access KL YUSHIN’s account at the Denmark-based bank to short Avnet via CFDs.

38  Onor about the same day, still before Avnet reported its second quarter financial
results, CC-1 shorted Avnet shares in his U.S.-based brokerage account.

39, In a conference call on or about April 24, 2020, KLYUSHIN and RUMIANTCEV
falsely told an employee of the Denmark-based bank, in substance, that M-13 traded on the basis
of its analysis of publicly available information, including historical data and social media

postings, and not on the basis of material non-public information.

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40, On or about September 17, 2020, RUMIANTCEV told KLYUSHIN that M-13
would earn approximately $522,000 based on its profitable trading on behalf of Individual 2 during
the third quarter of 2020, representing 60 percent of the profits earned on those trades.
41.  Onor about the following day, RUMIANTCEYV told KLYUSHIN that M-13 would
earn approximately $443,700 based on its profitable trading on behalf of Individual 3 during the

third quarter of 2020, representing 60 percent of the profits earned on those trades.

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HIGHLY SENSITIVE DOCUMENT
COUNT ONE
Conspiracy to Obtain Unauthorized Access to Computers,
and to Commit Wire Fraud and Securities Fraud
(18 U.S.C, § 371)
The Grand Jury charges:
42. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 41
of this Indictment.
43. From in or about at least January 2018 through in or about at least September 2020,
in the District of Massachusetts and elsewhere, the defendants,
VLADISLAV KLYUSHIN,
a/k/a “Vladislav Kliushin,”
IVAN ERMAKOV,
a/k/a “Ivan Yermakov,” and
NIKOLAI RUMIANTCEV,
a/k/a “Nikolay Rumyantsev,”
conspired with one another, and with others known and unknown to the Grand Jury, to commit
offenses against the United States, to wit:
a. computer intrusion, in violation of Title 18, United States Code, Section
1030(a)(4), that is, to knowingly access a protected computer without
authorization, with intent to defraud, and by means of such conduct to
further the intended fraud and obtain a thing of value;
b. wire fraud, in violation of Title 18, United States Code, Section 1343, to
wit: having devised and intending to devise a scheme and artifice to defraud
and to obtain money and property by means of materially false and

fraudulent pretenses, representations and promises, to transmit and cause to

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be transmitted by means of wire communications in interstate and foreign
commerce, writings, signs, signals, pictures and sounds for the purpose of
executing the scheme to defraud; and

Cs securities fraud, in violation of Title 15, United States Code, Sections 78j(b)
and 78ff(a), and Title 17, Code of Federal Regulations, Section 240.10b-5,
to wit: knowingly and willfully, by the use of means and instrumentalities
of interstate commerce, the mails, and the facilities of a national securities
exchange, directly and indirectly to use and employ manipulative and
deceptive devices and contrivances in connection with the purchase and sale
of securities, in contravention of Rule 10b-5 of the Rules and Regulations
promulgated by the United States Securities and Exchange Commission,
by: (a) employing devices, schemes and artifices to defraud; (b) making
untrue statements of material facts and omitting to state material facts
necessary in order to make the statements made, in light of circumstances
under which they were made, not misleading; and (c) engaging in acts,
practices and courses of business which would and did operate as a fraud
and deceit in connection with the purchase and sale of securities.

All in violation of Title 18, United States Code, Section 371.

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COUNT TWO
Wire Fraud; Aiding and Abetting
(18 U.S.C. §§ 1343 and 2)
The Grand Jury further charges:
44. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 41
of this Indictment.
45. On or about October 24, 2018, in the District of Massachusetts and elsewhere, the
defendants,
VLADISLAV KLYUSEHIN,
a/k/a “Vladislav Kliushin,”
IVAN ERMAKOV,
a/k/a “Ivan Yermakov,” and
NIKOLAI RUMIANTCEV,
a/k/a “Nikolay Rumyantsev,”
together with others known and unknown to the Grand Jury, having devised and intending to devise
a scheme and artifice to defraud, and for obtaining money and property, to wit, the confidential
financial information of Tesla, Capstead and other publicly traded clients of Filing Agent 2, by
means of materially false and fraudulent pretenses, representations, and promises, did transmut and
cause to be transmitted by means of wire communications in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of executing the scheme to defraud,
specifically: the FA 2 Employee Credentials, which were transmitted, via the Boston IP Addresses,
to one or more computer servers outside of Massachusetts in order to obtain unauthorized access

to the computer network of Filing Agent 2.

All in violation of Title 18, United State Code, Sections 1343 and 2.

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COUNT THREE
Unauthorized Access to Computers; Aiding and Abetting
(18 U.S.C. §§ 1030(a)(4) and 2))

The Grand Jury further charges:
46. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 41

of this Indictment.

47. On or about October 24, 2018, in the District of Massachusetts and elsewhere, the

defendants,

VLADISLAV KLYUSHIN,
a/k/a “Vladislav Kliushin,”
IVAN ERMAKOV,
a/k/a “Ivan Yermakov,” and
NIKOLAI RUMIANTCEV,
a/k/a “Nikolay Rumyantsev,”

iogether with others known and unknown to the Grand Jury, did knowingly access a protected
computer without authorization, with intent to defraud, and by means of such conduct did further
the intended fraud and obtain a thing of value, to wit: the confidential financial information of
Tesla, Capstead, and other publicly traded clients of Filing Agent 2.

All in violation of Title 18, United States Code, Sections 1030(a)(4) and 2.

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COUNT FOUR
Securities Fraud; Aiding and Abetting
(15 U.S.C. §§ 78)(b) and 78ff(a); 17 CFR. § 240.10b 5; 18 U.S.C. § 2)
The Grand Jury further charges:
48. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 41
of this Indictment.
49. On vatious dates between on or about February 5, 2018 and on or about January
23, 2020, in the District of Massachusetts and elsewhere, the defendants,
VLADISLAV KLYUSHIN,
a/k/a “Vladislav Kliushin,”
IVAN ERMAKOV,
a/k/a “Ivan Yermakov,” and
NIKOLAI RUMIANTCEV,
a/k/a “Nikolay Rumyantsev,”
together with others known and unknown to the Grand Jury, did knowingly and willfully, by the
use of means and instrumentalities of interstate commerce, the mails, and the facilities of national
securities exchanges, directly and indirectly use and employ manipulative and deceptive devices
and contrivances in connection with the purchase and sale of securities in contravention of Rule
10b-5 (17 C.F.R. § 240.10b-5) of the Rules and Regulations promulgated by the United States
Securities and Exchange Commission, and did (a) employ a device, scheme and artifice to defraud,
(b) make untrue statements of material facts and omit to state material facts necessary in order to

make the statements made, in light of circumstances under which they were made, not misleading,

and (c) engage in acts, practices and a course of business which would and did operate as a fraud

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and deceit, in connection with the purchase and sale of securities, specifically, the securities of

publicly traded companies that were clients of Filing Agent 2.

All in violation of Title 15, United States Code, Sections 78j(b) & 78ff{a); Title 17, Code

of Federal Regulations, Section 240.10b-5; and Title 18, United States Code, Section 2.

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FORFEITURE ALLEGATION
(18 U.S.C. § 981(a)(1NC) & 28 U.S.C. § 2461(c))

50. Upon conviction of one or more of the offenses charged in Counts One, Two and

Four of this Indictment, the defendants,

VLADISLAV KLYUSHIN,

a/k/a “Vladislav Kliushin,”
IVAN ERMAKOV,

a/k/a “Ivan Yermakov,” and

NIKOLAI RUMIANTCEV,

a/k/a “Nikolay Rumyantsev,”
shall forfeit to the United States pursuant to Title 18, United States Code, Section 981 (a)(1)(C)
and Title 28, United States Code, Section 2461(c), any property, real or personal, which
constitutes or is derived from proceeds traceable to such offenses.

51.  Ifany of the property described in paragraph 50 above, as being forfeitable pursuant
to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section
2461(c), as a result of any act or omission by the defendants,

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without

difficulty,

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it is the intention of the United States, pursuant to Title 28, United States Code, Section 2461(c),
incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other
property of the defendants up to the value of the property described in paragraph 50 above.

All pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).

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COMPUTER INTRUSION FORFEITURE ALLEGATION
(18 U.S.C. §§ 982(a)(2)(B) & 1030G))

52. Upon conviction of one or more of the offenses in violation of Title 18, United

States Code, Sections 371 and 1030(a), set forth in Counts One and Three, the defendants,

VLADISLAV KLYUSHIN,
a/k/a “Vladislav Kliushin,”
IVAN ERMAKOV,
a/k/a “Ivan Yermakov,” and
NIKOLAI RUMIANTCEV,
a/k/a “Nikolay Rumyantsev,”

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(2)(B)

and 1030(i), any property constituting or derived from any proceeds obtained, directly or

indirectly, as a result of such offenses; and, pursuant to Title 18, United States Code Section

1030(i), any personal property used, or intended to be used, to commit, or to facilitate the

commission of, such offenses and any property, real or personal, constituting or derived from any

proceeds obtained, directly or indirectly, as a result of such offenses.

53. If any of the property described in Paragraph 52, above, as being forfeitable

pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(), asa result of any act

or omission of the defendants --

a.

b.

c.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party,
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided without
difficulty;
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+t ig the intention of the United States, pursuant to Title 18, United States Code, Sections 982(b)(2)
and 1030(i(2), each incorporating Title 21, United States Code, Section 853(p), to seek forfeiture
of any other property of the defendants up to the value of the property described in Paragraph 52
above.

All pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030G@).

 

[vl OX

STEPHEN E. FRANK.

SETH B. KOSTO

ASSISTANT UNITED STATES ATTORNEYS
DISTRICT OF MASSACHUSETTS

District of Massachusetts: April 6, 2020
Returmed into the District Court by the Grand Jurors and fil

et J JM G LAL
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Case 1:21-cr-10104-PBS Document 8 Filed 04/06/21 Page 23 of 28
aalS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011) HIGHLY SENSITIVE DOCUMENTS

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. 2 Investigating Agency FBI
City _BOSTON Related Case Information:
County _Suffolk Superseding Ind,/ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number 21-MJ-2090-MBB
Search Warrant Case Number — _20-MJ-2221-MBB

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R 20/R 40 from District of
Defendant Information:
Defendant Name _VLADISLAV KLYUSHIN Juvenile: [] yes |¥] No
1s this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name VLADISLAV KLIUSHIN
Address (City & State} RUSSISH KEDERE TEE
Birth date (Yr only): 1980 SSN (last4#): Sex M Race: WHITE Nationality; RUSSIAN
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information: OA
AUSA Seth B. Kosto and Stephen E. Frank Bar Number if applicable
Interpreter: yes [| |No List language and/or dialect: Russian
Victims: [¥lves [_|No if yes, are there multiple crime victims under 18 USC§3771(d){2) [| Yes No

Matter to be SEALED: ves [| No

[V | Warrant Requested [| Regular Process [| In Custody he
Location Status: Cy e

 

 

 

 

 

 

Arrest Date
[_|Already in Federal Custody as of in
[ JAlready in State Custody at [_ [Serving Sentence [awaiting Trial
[lon Pretrial Release: Ordered by: on

Charging Document: CI Complaint [Information Indictment

Total # of Counts: | |Petty —— | |Misdemeanor —S oa Felony Ba

Continue on Page 2 for Entry of U.S.C. Citations

J hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.
Date: 04/06/2021 Signature of AUSA: / 2
Case 1:21-cr-10104-PBS Document 8 Filed 04/06/21 Page 24 of 28

38 45 (5/97) (Revised U.S.D.C, MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant

Set 1

Set 2

Set 3

Set 4

Set 3

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

 

 

U.S.C. Citations

 

 

 

 

Index Key/Code Description of Offense Charged Count Numbers
Conspiracy to Obtain Unauthorized Access to Computers,
18 U.S.C, § 37) and to Commit Wire Fraud and Securites Fraud. Count One
Wire Fraud: Aiding and Abetting.
18 U.S.C. §§ 1343 and 2 Count Two
Unauthorized Access to Computers; Aiding and
18 U.S.C. §§ 1030(a)(4) and 2 Abetting. Count Three
15 U.S.C. §§ 78j(b} and 78ffla); . cas .
17 CER. § 240.10b-5; Securities Fraud; Aiding and Abetting. Count Four

18 U.S.C. §2

18 ULS.C. §§ 981@)(1I)CC)
and 28 U.S.C. § 2461(c)

18 U.S.C. §§ 982(a)(2)(B)
and 1030(%)

 

Forfeiture Allegation

Computer Intrusion Forfeiture Allegation

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ADDITIONAL INFORMATION:

 

 

 

 

 

USAMA CRIA¢- Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:21-cr-10104-PBS Documents Filed 04/06/21 Page 25 of 28
JS 45 (5/97)- (Revised U.S.D.C. MA 3/25/2011) HIGHLY SENSITIVE DOCUMENTS

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: CategoryNo. 4 Investigating Agency FBL
City BOSTON Related Case Information:
County _ Suffolk Superseding Ind// Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number 21-MJ-2090-MBB
Search Warrant Case Number 20-MJ-2221-MBB
R 20/R 40 from District of

 

 

 

 

 

 

 

 

 

Defendant Information:

Defendant Name NIKOLA] RUMIANTCEV Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name NIKOLAY RUMYANTSEV

Address (City & State) RUSSIAN FEDERATION

Birth date (Yr only): 1988 SSN (last4#): Sex M _ Race: WHITE Nationality: RUSSIAN

Defense Counsel if known: Address

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA Seth B. Kosto and Stephen E. Frank Bar Number if applicable
Interpreter: Yes [| No List language and/or dialect: Russian
Victims: [Yves | _|No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes % wy?

Matter to be SEALED: Yes C] No ie
{| Warrant Requested [| Regular Process oes

Location Status:

 

 

 

 

 

 

 

Arrest Date

[" |Already in Federal Custody as of in
| |Atready in State Custody at | |Serving Sentence | lAwaiting Trial

[| On Pretrial Release: Ordered by: on

Charging Document: [- |complaint [_|Information Indictment

Total # of Counts: | |Petty TT [Misdemeanor ——_—__ [¥ | Felony a

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 04/06/2021 Signature of AUSA: /
Case 1:21-cr-10104-PBS Document8 Filed 04/06/21

J$ 45 (5/97) (Revised U.S.D.C, MA 12/7405) Page 2 of 2 or Reverse

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District Court Case Number (To be filled in by deputy clerk):

 

 

 

 

 

 

 

Name of Defendant
U.S.C, Citations
Index Kev/Code Description of Offense Charged Count Numbers

Conspiracy to Obtain Unauthorized Access to Computers,

Set1 18 U.S.C. $371 and to Commit Wire Fraud and Securites Fraud. Count One
Wire Fraud; Aiding and Abetting.

Set 2 _18 U.S.C. §§ 1343 and 2 Count Two
Unauthorized Access to Computers; Aiding and

Set 3 _18 U.S.C. §§ 1030(a)(4) and 2 Abetting. Count Three

15 U.S.C. 88 78j(b) and 78ff(a); . . .
Set 4 17 CER. § 240.10b-5; Securities Fraud; Aiding and Abetting. GousrPou

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

18 U.S.C, § 2

 

18 U.S.C. §§ 9811 KC)
and 28 U.S.C. § 2461 (¢)

18 U.S.C. §§ 982(a)(2)(B)
and 1030(i)

 

Forfeiture Allegation

Computer Intrusion Forfeiture Allegation

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ADDITIONAL INFORMATION:

 

 

 

 

 

USAMA CRIM- Criminal Case Cover Sheet.pdf 3/4/2013
- only):

Case 1:21-cr-10104-PBS Document8 Filed 04/06/21 Page 27 of 28
eaJS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011) HIGHLY SENSITIVE DOCUMENTS

 

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. i Investigating Agency FBI
City BOSTON Related Case Information:
County _Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

Magistrate Judge Case Number 21-MJ-2090-MBB
Search Warrant Case Number _20-MJ-2221-MBB

 

 

 

 

 

 

 

 

 

 

 

 

 

R 20/R 40 from District of
Defendant Information:
Defendant Name TVANERMAKOV Juvenile: [ | Yes |v] No
Is this person an attorney and/or a member of any state/federal bar: | Yes No
Alias Name IVAN YERMAKOV
Address (City & State) RUSSIAN FEDERATION
1986 SSN (last4#): Sex _M Defense Counsel if Race: WHITE Nationality: RUSSIAN
known: Address
Bar Number
U.S. Attorney Information:
AUSA Seth B. Kosto and Stephen E. Frank Bar Number if applicable
Interpreter: Yes | | No List language and/or dialect: Russian
Victims: [Yves |_|No If yes, are there multiple crime victims under 18 USC§3771(4)(2} [| Yes [¥|No

Matter to be SEALED: ves [|] No

co to
[v ] Warrant Requested [| Regular Process |_| In A) és

Location Status:

 

 

 

 

 

 

 

Arrest Date

[ ]Already in Federal Custody as of in QO
[Already in State Custody at [ |Serving Sentence VT awaiting Trial
[ lon Pretrial Release: Ordered by: on

Charging Document: [| Complaint |] Information Indictment

Total # of Counts: | |Petty ————— | _|Misdemeanor —— |v | Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.
Date: 04/06/2021 Signature of AUSA: (oe TK

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Case 1:21-cr-10104-PBS Document 8 Filed 04/06/21 Page 28 of 28

18 45 (3/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant

Set 1

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set l4

Set 14

 

 

Index Key/Code

U.S.C. Citations

Description of Offense Charged
Conspiracy to Obtain Unauthorized Access to Computers,

Count Numbers

 

 

 

18 U.S.C. § 371 and to Commit Wire Fraud and Securites Fraud. Count One
Wire Fraud; Aiding and Abetting.
18 U.S.C. §§ 1343 and 2 Count Two
Unauthorized Access to Computers; Aiding and
18 U.S.C. §§ 1030(a)(4) and 2 Abetting. Count Three
15 U.S.C. §§ 78j(b) and 78ff{a); .. . .
17 C.E.R. § 240.10b-5; Securities Fraud; Aiding and Abetting. Cant Four

18 U.S.C. § 2

18 U.S.C. §§ 981(a)(1XC)
and 28 U.S.C. § 2461(c)

18 U.S.C. §§ 982(a)(2)(B)
and 1030(i)

 

Forfeiture Allegation

Computer Intrusion Forfeiture Allegation

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—_————————_

 

 

 

 

 

 

 

 

 

 

 

 

ADDITIONAL INFORMATION:

 

 

 

 

 

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